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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS



John Doe                                    )
                                            )       Case No. 25 C 3282
                 v.                         )
                                            )       Judge: Matthew F. Kennelly
Cleo Communications, Inc.                   )

                                        ORDER


Plaintiff’s motion to change venue [9] is granted. The case is transferred to the Western
Division of this District. The Clerk is directed to assign a Western Division docket number to
the case and is directed to terminate the case under docket number 25 C 3282.




Date: 4/4/2025                                     /s/ Matthew F. Kennelly
                                                         United States District Judge
